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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

  PATRICIA KENNEDY, Individually,          :
                                           :
              Plaintiffs,                  :
                                           :
  v.                                       : Case No.
                                           :
  DEVI KRUPA HOTEL, LLC d/b/a AMERICAS :
  BEST VALUE INN & SUITES STOCKBRIDGE :
  ATLANTA.                                 :
                                           :
              Defendant.                   :
  _______________________________________/ :
                                           :

                                            COMPLAINT

                                    (Injunctive Relief Demanded)

       Plaintiff, PATRICIA KENNEDY, Individually, on her behalf and on behalf of all other

   individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby sues the Defendant,

  DEVI KRUPA, LLC d/b/a AMERICAS BEST VALUE INN & SUITES STOCKBRIDGE

  ATLANTA, (sometimes referred to as “Defendant”), for Injunctive Relief, and attorney’s fees,

  litigation expenses, and costs pursuant to the Americans with Disabilities Act, 42 U.S.C. ' 12181

  et seq. (“ADA”).

  1.             Plaintiff is a resident of Broward County, is sui juris, and qualifies as an individual

                 with disabilities as defined by the ADA. Plaintiff is unable to engage in the major

                 life activity of walking more than a few steps without assistive devices. Instead,

                 Plaintiff is bound to ambulate in a wheelchair or with a cane or other support and

                 has limited use of her hands. She is unable to tightly grasp, pinch and twist of the

                 wrist to operate. When ambulating beyond the comfort of her own home, Plaintiff
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              must primarily rely on a wheelchair. Plaintiff requires accessible handicap parking

              spaces located closest to the entrances of a facility. The handicap and access aisles

              must be of sufficient width so that she can embark and disembark from a ramp into

              her vehicle. Routes connecting the handicap spaces and all features, goods and

              services of a facility must be level, properly sloped, sufficiently wide and without

              cracks, holes or other hazards that can pose a danger of tipping, catching wheels or

              falling. These areas must be free of obstructions or unsecured carpeting that make

              passage either more difficult or impossible. Amenities must be sufficiently lowered

              so that Plaintiff can reach them. She has difficulty operating doorknobs, sink

              faucets, or other operating mechanisms that tight grasping, twisting of the wrist or

              pinching. She is hesitant to use sinks that have unwrapped pipes, as such pose a

              danger of scraping or burning her legs. Sinks must be at the proper height so that

              she can put her legs underneath to wash her hands. She requires grab bars both

              behind and beside a commode so that she can safely transfer, and she has difficulty

              reaching the flush control if it is on the wrong side. She has difficulty getting

              through doorways if they lack the proper clearance.

  2.          Plaintiff is an advocate of the rights of similarly situated disabled persons and is a

              "tester" for the purpose of asserting her civil rights and monitoring, ensuring, and

              determining whether places of public accommodation and their websites are in

              compliance with the ADA.

  3.          According to the county property records, Defendant owns a place of public

              accommodation as defined by the ADA and the regulations implementing the ADA,


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              28 CFR 36.201(a) and 36.104. The place of public accommodation that the

              Defendant owns is a place of lodging known as Americas Best Value Inn & Suites

              Stockbridge Atlanta, 110 GA- 138 also known as 110 Highway 138W, Stockbridge,

              GA 30281, and is located in the County of Henry, (hereinafter "Property").

  4.          Venue is properly located in the Southern District of Florida because the actions

              giving rise to this cause took place in this district. The Defendant does business

              within this judicial district.

  5.          Pursuant to 28 U.S.C. ' 1331 and 28 U.S.C. ' 1343, this Court has been given original

              jurisdiction over actions which arise from the Defendant’s violations of Title III of

              the Americans with Disabilities Act, 42 U.S.C. ' 12181 et seq. See also 28 U.S.C. '

              2201 and ' 2202.

  6.          As the owner of the subject place of lodging, Defendant is required to comply with

              the ADA. As such, Defendant is required to ensure that it's place of lodging is in

              compliance with the standards applicable to places of public accommodation, as set

              forth in the regulations promulgated by the Department of Justice. Said regulations

              are set forth in the Code of Federal Regulations, the Americans With Disabilities

              Act Architectural Guidelines ("ADAAGs"), and the 2010 ADA Standards,

              incorporated by reference into the ADA. These regulations impose requirements

              pertaining to places of public accommodation, including places of lodging, to

              ensure that they are accessible to disabled individuals.

  7.          More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following

              requirement:


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              Reservations made by places of lodging. A public accommodation that owns,
              leases (or leases to), or operates a place of lodging shall, with respect to
              reservations made by any means, including by telephone, in-person, or through a
              third party -
                      (i) Modify its policies, practices, or procedures to ensure that individuals
                      with disabilities can make reservations for accessible guest rooms during
                      the same hours and in the same manner as individuals who do not need
                      accessible rooms;
                      (ii) Identify and describe accessible features in the hotels and guest rooms
                      offered through its reservations service in enough detail to reasonably
                      permit individuals with disabilities to assess independently whether a
                      given hotel or guest room meets his or her accessibility needs;
                      (iii) Ensure that accessible guest rooms are held for use by individuals
                      with disabilities until all other guest rooms of that type have been rented
                      and the accessible room requested is the only remaining room of that type;
                      (iv) Reserve, upon request, accessible guest rooms or specific types of
                      guest rooms and ensure that the guest rooms requested are blocked and
                      removed from all reservations systems; and
                      (v) Guarantee that the specific accessible guest room reserved through its
                      reservations service is held for the reserving customer, regardless of
                      whether a specific room is held in response to reservations made by
                      others.

  8.          These regulations became effective March 15, 2012.

  9.          Defendant, either itself or by and through a third party, implemented, operates,

              controls and or maintains a website for the Property which contains an online

              reservations system. This website is located at:

              https://www.redlion.com/americas-best-value-inn/ga/stockbridge/americas-best-
              value-inn-suites-stockbridge-atlanta
              https://www.hotels.com/ho130568/americas-best-value-inn-suites-stockbridge-
              atlanta-stockbridge-united-states-of-america/
              https://www.agoda.com/americas-best-value-inn-suites-stockbridge-
              atlanta_4/hotel/stockbridge-ga-us.html?cid=-218
              https://www.expedia.com/Griffin-Hotels-Americas-Best-Value-Inn-Suites-
              Stockbridge-Atlanta.h1101742.Hotel-Information\
              This term also includes all websites owned and operated by Defendant or by third

              parties to book or reserve guest accommodations at the hotel. The purpose of this



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              website is so that members of the public may reserve guest accommodations and

              review information pertaining to the goods, services, features, facilities, benefits,

              advantages, and accommodations of the Property. As such, this website is subject

              to the requirements of 28 C.F.R. Section 36.302(e).

  10.         Prior to the commencement of this lawsuit, Plaintiff visited the websites on July

              16, 2019, for the purpose of reviewing and assessing the accessible features at the

              Property and ascertain whether they meet the requirements of 28 C.F.R. Section

              36.302(e) and her accessibility needs. However, Plaintiff was unable to do so

              because Defendant failed to comply with the requirements set forth in 28 C.F.R.

              Section 36.302(e). As a result, Plaintiff was deprived the same goods, services,

              features, facilities, benefits, advantages, and accommodations of the Property

              available to the general public. Specifically, the website indicates that the hotel

              offers various kinds of sleeping accommodations, but no information as to

              whether any of the rooms are accessible. Nor does the website contain any

              information as to whether or where it offers compliant/accessible roll-in showers,

              tubs, built in seating, commodes, grab bars, sinks, wrapped pipes, sink and door

              hardware, properly located amenities, sufficient maneuvering spaces, compliant

              doors, furniture, controls and operating mechanisms. In the common areas, the

              website contains no information as to whether there is compliant handicap

              parking and where said parking is located. Nor does Defendant's website contain

              any information as to whether all goods, facilities and services at the property are

              connected by a compliant accessible route. Nor does the website contain any


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              information as to the accessibility of routes connecting all the features of the

              hotel, the transaction counter, common area restrooms.

  11.         Plaintiff visited the websites on July 20, 2019, August 19, 2019, August 22, 2019,

              August 23, 2019 and August 24, 2019. In the near future, Plaintiff intends to

              revisit Defendant's website and/or online reservations system in order to test it for

              compliance with 28 C.F.R. Section 36.302(e) and/or to utilize the website to

              reserve a guest room and otherwise avail herself of the goods, services, features,

              facilities, benefits, advantages, and accommodations of the Property.

  12.         Plaintiff is continuously aware that the subject website remains non-compliant

              and that it would be a futile gesture to revisit the website as long as those

              violations exist unless she is willing to suffer additional discrimination.

  13.         The violations present at Defendant's website infringe Plaintiff's right to travel

              free of discrimination and deprive her of the information required to make

              meaningful choices for travel. Plaintiff has suffered, and continues to suffer,

              frustration and humiliation as the result of the discriminatory conditions present at

              Defendant's website. By continuing to operate a website with discriminatory

              conditions, Defendant contributes to Plaintiff's sense of isolation and segregation

              and deprives Plaintiff the full and equal enjoyment of the goods, services,

              facilities, privileges and/or accommodations available to the general public. By

              encountering the discriminatory conditions at Defendant's website and knowing

              that it would be a futile gesture to return to the website unless she is willing to

              endure additional discrimination, Plaintiff is deprived of the same advantages,


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              privileges, goods, services and benefits readily available to the general public. By

              maintaining a website with violations, Defendant deprives Plaintiff the equality of

              opportunity offered to the general public.

  14.         Plaintiff has suffered and will continue to suffer direct and indirect injury as a

              result of the Defendant=s discrimination until the Defendant is compelled to

              modify its website to comply with the requirements of the ADA and to

              continually monitor and ensure that the subject website remains in compliance.

  15.         Plaintiff has a realistic, credible, existing and continuing threat of discrimination

              from the Defendant=s non-compliance with the ADA with respect to this

              website. Plaintiff has reasonable grounds to believe that she will continue to be

              subjected to discrimination in violation of the ADA by the Defendant.

  16.         The Defendant has discriminated against the Plaintiff by denying her access to,

              and full and equal enjoyment of, the goods, services, facilities, privileges,

              advantages and/or accommodations of the subject website.

  17.         The Plaintiff and all others similarly situated will continue to suffer such

              discrimination, injury and damage without the immediate relief provided by the

              ADA as requested herein.

  18.         Defendant has discriminated against the Plaintiff by denying her access to full and

              equal enjoyment of the goods, services, facilities, privileges, advantages and/or

              accommodations of its place of public accommodation or commercial facility in

              violation of 42 U.S.C. ' 12181 et seq. and 28 CFR 36.302(e). Furthermore, the

              Defendant continues to discriminate against the Plaintiff, and all those similarly


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               situated by failing to make reasonable modifications in policies, practices or

               procedures, when such modifications are necessary to afford all offered goods,

               services, facilities, privileges, advantages or accommodations to individuals with

               disabilities; and by failing to take such efforts that may be necessary to ensure that

               no individual with a disability is excluded, denied services, segregated or

               otherwise treated differently than other individuals because of the absence of

               auxiliary aids and services.

  19.          Plaintiff is without adequate remedy at law and is suffering irreparable harm.

               Plaintiff has retained the undersigned counsel and is entitled to recover attorney=s

               fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. '

               12205 and 28 CFR 36.505.

  20.          Pursuant to 42 U.S.C. ' 12188, this Court is provided with authority to grant

               Plaintiff Injunctive Relief, including an order to require the Defendant to alter the

               subject website to make it readily accessible and useable to the Plaintiff and all

               other persons with disabilities as defined by the ADA and 28 C.F.R. Section

               36.302(e); or by closing the website until such time as the Defendant cures its

               violations of the ADA.

  WHEREFORE, Plaintiff respectfully requests:

        a.     The Court issue a Declaratory Judgment that determines that the Defendant at the

               commencement of the subject lawsuit is in violation of Title III of the Americans

               with Disabilities Act, 42 U.S.C. ' 12181 et seq. and 28 C.F.R. Section 36.302(e).




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         b.     Injunctive relief against the Defendant including an order to revise its website to

                comply with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor and

                maintain the website to ensure that it remains in compliance with said requirement.



         c.     An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

                ' 12205.

         d.     Such other relief as the Court deems just and proper, and/or is allowable under

                Title III of the Americans with Disabilities Act.




  Respectfully Submitted,



                                                              Thomas B. Bacon Esquire
  Althea M. Campbell, Esquire                                 Thomas B. Bacon, P.A.
  Of Counsel                                                  644 North Mc Donald St.
  Thomas B. Bacon P.A.                                        Mt. Dora, FL 32757
  210 N University Drive, Suite 504                           ph. (954) 478-7811
  Coral Springs, FL 33071                                     tbb@thomasbaconlaw.com
  Tel: (954) 717-1646                                         Florida Bar. Id. No. 139262
  Email: amcpleadings@gmail.com




  By:/s/ Althea M. Campbell
      Althea M. Campbell, Esquire




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